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                   IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

MIGUEL CARRERA, JR. and                    §
JASMINE NOL, individual and as             §
Next Friend of A.C., a minor,              §
     Plaintiffs,                           §
                                           §
v.                                         §
                                           §        CIVIL ACTION NO. 2:19cv36
TEXAS DEPARTMENT OF CRIMINAL               §
JUSTICE, UNIVERSITY OF TEXAS               §
MEDICAL BRANCH AT GALVESTON,               §
ROBERT STEVENS, Individual                 §
Capacity, GUARD 1, Individual              §
Capacity, GUARD 2, Individual              §
Capacity,                                  §
     Defendants.                           §

                      DEFENDANT STEVENS’S ORIGINAL ANSWER

     Robert K. Stevens submits this Original Answer to Plaintiffs’ Original Complaint.

See ECF No. 1.

                                 ORIGINAL ANSWER

     Pursuant to Federal Rule of Civil Procedure 8(b), and for the express purpose of

requiring Plaintiffs to meet their burden of proof, Stevens hereby denies each and

every allegation contained in Plaintiffs’ Original Complaint, except those expressly

admitted herein.

1.     Stevens is without information sufficient to admit or deny the allegations in

       Paragraph 1.

2.     Stevens admits Plaintiffs bring suit against him and two guards in their

       individual capacity, but denies he subjected Carrera to cruel and unusual
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      punishment as prohibited by the Eighth Amendment and Fourteenth

      Amendment of the United States Constitution. Stevens admits Plaintiffs bring

      suit against himself, TDCJ, UTMB, and Guard 1 and Guard 2, but denies they

      violated Title II of the Americans with Disabilities act by subjecting Carrera

      to cruel and unusual punishment as prohibited by the Eighth and Fourteenth

      Amendments.

3.    Stevens denies the Court has jurisdiction over claims brought by Plaintiffs Nol

      and A.C. Stevens admits venue is proper.

4.    Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 4.

5.    Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 5.

6.    Stevens admits TDCJ is a department of the State of Texas.

7.    Stevens admits he was the warden of the Skyview Unit and that he was

      properly served.

8.    Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 8.

9.    Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 9.

10.   Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 10.

11.   Stevens denies the allegations in Paragraph 11.




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12.   Stevens admits Plaintiffs notified in writing their intent to bring a claim for

      compensation. Stevens denies the allegations contained within that notice.

      Stevens is without information sufficient to admit or deny the remaining

      allegations in Paragraph 12.

13.   Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 13.

14.   Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 14.

15.   Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 15.

16.   Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 16.

17.   Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 17.

18.   Stevens is without information sufficient to admit or deny the allegations in

      Paragraph 18, or any allegations pertaining to UTMB.

19.   Stevens admits TDCJ has a suicide prevention plan.

20.   Stevens denies the allegations in Paragraph 20.

21.   Stevens denies the allegations in Paragraph 21.

22.   Stevens denies the allegations in Paragraph 22.

23.   Stevens denies the allegations in Paragraph 23.

24.   Stevens denies the allegations in Paragraph 24.




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25.    Stevens denies he is not entitled to qualified immunity and the allegations

       contained within Paragraph 25.

26.    Stevens, in his individual capacity, is unable to admit or deny allegations

       against TDCJ and UTMB.

27.    Stevens, in his individual capacity, is unable to admit or deny allegations

       against TDCJ and UTMB.

28.    Stevens, in his individual capacity, is unable to admit or deny allegations

       against TDCJ and UTMB.

29.    Stevens, in his individual capacity, is unable to admit or deny allegations

       against TDCJ and UTMB.

30.    Stevens denies the allegations contained in Paragraph 30 and its subsections.

31.    Stevens denies the allegations contained in Paragraph 31 and its subsections.

32.    Stevens denies the allegations contained in Paragraph 32 and its subsections.

33.    Stevens denies Plaintiff is entitled to punitive damages.

34.    Stevens denies Plaintiffs are entitled to damages sought in Paragraph 34 and

       its subsections.

                                 AFFIRMATIVE DEFENSES

 35.   Plaintiffs failed to state a claim for which relief can be granted under 42 U.S.C.

       § 12131 (the ADA and ADAAA), the Eighth Amendment, the Fourteenth

       Amendment, and under any other statute, constitutional theory, or legal

       theory.




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 36.   Stevens denies that Carrera was deprived of any right, privilege, or immunity

       granted or secured by the Constitution and/or laws of the United States.

 37.   Stevens denies that Plaintiffs are entitled to the relief demanded in the live

       complaint, and further denies that Plaintiffs are entitled to damages,

       attorneys’ fees, or costs in any amount whatsoever.

 38.   Stevens denies that Congress abrogated sovereign immunity for purposes of 42

       U.S.C. § 12131 (the ADA and ADAAA).

 39.   Stevens denies that it failed to provide reasonable accommodations to Carrera

       as alleged by Plaintiffs in their live complaint.

 40.   Stevens denies that Carrera requested any accommodation, that Carrera knew

       or believed he needed any accommodation, or that TDCJ denied him a

       reasonable accommodation pursuant to 42 U.S.C. § 12131 (the ADA and

       ADAAA).

 41.   The   accommodations       requested       by   Plaintiffs   constitute   fundamental

       alterations to TDCJ’s policies, procedures, services, and/or facilities and do not

       constitute reasonable modifications.

 42.   The accommodations requested by Plaintiffs constitute an undue burden.

 43.   The accommodations requested by Plaintiffs would result in undue financial

       and administrative burdens on TDCJ.

 44.   Stevens asserts that Carrera was not denied any benefits or services because

       of his alleged disabilities.




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 45.     Stevens asserts that Carrera was not denied any benefits or services solely

         because of his allegedly disabilities.

 46.     Stevens asserts that Plaintiffs have failed to allege how its alleged actions also

         violated Carrera’s constitutional rights.

 47.     Stevens asserts the Plaintiffs Jasmine Nol and A.C. lack standing to bring suit.

 48.     Stevens asserts his entitlement to qualified immunity and Eleventh

         Amendment immunities, for claims brought against him in his individual and

         official capacities.

                                          PRAYER

       Stevens urges this Court to deny the Plaintiffs any and all relief demanded in

their complaint and to grant such other and further relief as the Court deems just

and proper.

                                                  Respectfully submitted.

                                                  KEN PAXTON
                                                  Attorney General of Texas

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                                                  Chief, Law Enforcement Defense
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                                               /s/ Heather Rhea
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                                               ATTORNEYS FOR DEFENDANT TEXAS
                                               DEPARTMENT OF CRIMINAL JUSTICE

                           NOTICE OF ELECTRONIC FILING

    I, Heather Rhea, Assistant Attorney General of Texas, certify that I have

electronically submitted for filing foregoing, on March 18, 2019, in the Eastern

District of Texas, Marshall Division.

                                               /s/ Heather Rhea
                                               HEATHER RHEA
                                               Assistant Attorney General


                              CERTIFICATE OF SERVICE

    I, Heather Rhea, Assistant Attorney General of Texas, do hereby certify that a

true and correct copy of the above and foregoing has been served on all counsel of

record via the electronic case filing system of the United States District Court for the

Eastern District of Texas, on March 18, 2019.

                                               /s/ Heather Rhea
                                               HEATHER RHEA
                                               Assistant Attorney General



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